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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

  IPVX PATENT HOLDINGS, INC.         §
  a/k/a KLAUSNER TECHNOLOGIES, INC. §
                                     §
         v.                          §     6:11-cv-00480
                                     §      (Lead Case)
  AASTRA TECHNOLOGIES LTD., ET AL. §
  ___________________________________________________________________

  IPVX PATENT HOLDINGS, INC.        §
  a/k/a KLAUSNER TECHNOLOGIES, INC. §
                                    §
         v.                         §                 6:11-cv-00577
                                    §
  FONALITY, INC.                    §

                                  MEDIATOR’S REPORT
        After the original mediation session, mediator facilitated follow-up continued. I can

  now report a settlement has been reached and the parties are in the process of exchanging

  and filing appropriate documents.

                                CERTIFICATE OF SERVICE
        The mediator’s report was served electronically in compliance with Local Rule CV-

  5(a) upon all known counsel of record via the Court’s CM/ECF system, on the 9th day of

  October, 2014.

                                                  /s/ James W. Knowles
                                                  JAMES W. KNOWLES, MEDIATOR
